Case 1:20-cv-00052-SPW Document 267-16 Filed 09/27/23 Page 1of5

From: Ryan Shaffer <ryan@mss-lawfirm.com>

Sent: Tuesday, August 8, 2023 11:07 AM

To: Brett Jensen <Blensen@ brownfirm.com>

Subject: RE: Caekaert/Mapley & Rowland Schulze: Response to WINY's 7/27/2023 Ltr. re Rule 35 Exam

Brett,

| am checking in with my experts to see if the raw data proposal is workable.
Thanks,

Ryan

From: Brett Jensen <Blensen@ brownfirm.com>

Sent: Monday, August 7, 2023 4:12 PM

To: Ryan Shaffer <ryan@mss-lawfirm.com>; Jessica Yuhas <jessica@mss-lawfirm.com>;

Gerry. Fagan@moultonbellingham.com; Christopher Sweeney
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Cc: Rob Stepans <rob@mss-lawfirm.com>; Jared Brannan <jbrannan@mmt-law.com>;

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lawfirm.com>; Matthew Merrill <matthew@merrillwaterlaw.com>; Debbie Braaten

<debbie. braaten@moultonbellingham.com>

Subject: RE: Caekaert/Mapley & Rowland Schulze: Response to WTNY's 7/27/2023 Ltr. re Rule 35 Exam

Hi Ryan:
| just heard back from Dr. Biitz, and this is where things stand:

Regarding the release of raw testing data, Dr. Butz will agree to release to Dr. Bone; however, Dr.
Holmberg has not demonstrated through the information provided that he has adequate training,
supervision, and experience conducting psychological assessments. | have Dr. Biitz’s supporting
information that | can provide you if you want. To keep things simple, can the MOA stipulate to the
release of raw testing data to Dr. Bone only for full resolution of this issue?

As for Dr. Butz’s time in transit, | unfortunately do not have authority for further concession on the issue
of cost. As you read in Dr. Biitz’s July 17" letter, he has already limited his time in transit costs to a full 8-
hour day. Obviously the trip to Australia is going to involve much longer days.
Let me know if you’d like to chat further.

Sincerely,

Brett C. Jensen

Brown Law Firm, P.C. EXHIBIT
315 North 24" Street

16

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P.O. Drawer 849

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From: Brett Jensen

Sent: Tuesday, August 1, 2023 2:25 PM

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lawfirm.com>; Matthew Merrill <matthew@merriliwaterlaw.com>; Debbie Braaten

<debbie. braaten@moultonbellingham.com>

Subject: RE: Caekaert/Mapley & Rowland Schulze: Response to WTNY's 7/27/2023 Ltr. re Rule 35 Exam

Thanks Ryan. | am following up with Dr. Bitz about this. That seems like a sensible solution re the raw
testing data—I just need to make sure he is good with it.

i've also had some continued discussions with WTNY about the business class upgrades and time in
transit. Can we resolve this issue if WTNY agrees to cover the upgrades, i.e. Plaintiffs cover the cost of
seats in economy and WTNY covers the upgrades, and in exchange Plaintiffs cover Dr. BUtz’s time in
transit? Like we discussed yesterday, the concession for Dr. Butz to fly halfway around the world in lieu
of Ms. Mapley completing litigation activities in the forum where she filed suit is already a major
concession. Dr. Butz has thoroughly explained in his letters and provided supporting studies showing
why in-person assessments are necessary. | frankly don’t understand Plaintiffs’ distinction between time
in transit and travel casts. Both are additional costs directly related to Dr. Biitz’s concession to travel for
the examinations. Let me know if that would be a workable compromise.

Brett C. Jensen

Brown Law Firm, P.C.
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Case 1:20-cv-00052-SPW Document 267-16 Filed 09/27/23 Page 3 of 5

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From: Ryan Shaffer <ryan@mss-lawfirm.com>

Sent: Monday, July 31, 2023 1:51 PM

To: Brett Jensen <BJjensen@ brownfirm.com>; Jessica Yuhas <jessica@mss-lawfirm.com>;
Gerry.Fagan@moultonbellingham.com; Christopher Sweeney
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<debbie, braaten@moultonbellingham.com>

Subject: RE: Caekaert/Mapley & Rowland Schulze: Response to WTNY's 7/27/2023 Ltr. re Rule 35 Exam

Brett,

Following up on our call, so long as Dr. Butz agrees to provide the raw test data to our experts (Bone and
Holmberg) we are good not requiring disclosure to Plaintiffs’ counsel.

Thanks,

Ryan R. Shaffer

Meyer, Shaffer
& St

epans, PLLP

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Missoula, MT 59802
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Case 1:20-cv-00052-SPW Document 267-16 Filed 09/27/23 Page 4 of 5

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lawfirm.com>; James Murnion <james@mss-lawfirm.com>; Matthew Merrill

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Subject: RE: Caekaert/Mapley & Rowland Schulze: Response to WTNY's 7/27/2023 Ltr. re Rule 35 Exam

Hi Ryan:

Thanks for your letter. Can you chat with us today at 2pm? | will send out instructions to our conference
line.

Brett C. Jensen

Brown Law Firm, P.C.

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Sent: Friday, July 28, 2023 2:52 PM

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Subject: Caekaert/Mapley & Rowland Schulze: Response to WTNY's 7/27/2023 Ltr. re Rule 35 Exam

Counsel,
Please see our attached response to your letter of July 27, 2023. This will follow via U.S. Mail.
Thank you,

Jessica Yuhas
Paralegal

Meyer, Shaffer
& St

pans, PLP

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